Case 2:09-cv-03327-DMG-JC Document 34 Filed 06/21/10 Page 1 of 2 Page ID #:264


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   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
  10   MICHAEL PROVIDENTE,                        )   NO. CV09-3327 DMG (JCx)
                                                  )
  11                Plaintiff,                    )
                                                  )
  12          vs.                                 )   ORDER RE: CONTINUING THE
                                                  )   DEFENDANT, CITY OF EL
  13   CITY OF EL MONTE, A Public Entity; )           MONTE’S NOTICE OF
       KEN WELDON, individually and in his )          MOTION AND MOTION TO
  14   capacity as Chief of Police; TOM           )   DISMISS UNSERVED
       ARMSTRONG, individually and in his         )   DEFENDANTS PURSUANT TO
  15   capacity as the Assistant Chief of Police; )   F.R.C.P. 4(m) & 12(b)(5) FROM
       STEVE SCHUSTER, individually and in )          JUNE 28, 2010 AT 9:30 A.M. TO
  16   his capacity as a Police Captain; CRAIG )      JULY 12, 2010 AT 9:30 A.M. [33]
       SPERRY, individually and in his capacity )
  17   as a Police Captain; SANTOS                )
       HERNANDEZ, individually and in his         )
  18   capacity as a Police Lieutenant;           )
       Lieutenant ROBERT ROACH,                   )
  19   individually and in his capacity as a      )
       Police Lieutenant and DOES 1               )
  20   THROUGH 10, INCLUSIVE,                     )
                                                  )
  21                Defendants.                   )
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       [Proposed] Order                                        No. CV 09-3327 DMG (JCx)
Case 2:09-cv-03327-DMG-JC Document 34 Filed 06/21/10 Page 2 of 2 Page ID #:265


   1                                        ORDER
   2         The hearing on Defendant, City of El Monte’s Notice of Motion and Motion to
   3   Dismiss Unserved Defendants Pursuant to F.R.C.P. 4(m) & 12(b)(5) is hereby ordered
   4   continued from June 28, 2010 at 9:30 a.m. to July 12, 2010 at 9:30 a.m.
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   6   Dated: June 21, 2010                          ____________________________
                                                     Honorable Dolly M. Gee
   7                                                 United States District Judge
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       [Proposed] Order                        -2-              No. CV 09-3327 DMG (JCx)
